
56 N.Y.2d 787 (1982)
Preiss/Breismeister Architects, Respondent,
v.
Westin Hotel Company-Plaza Hotel Division, Also Known as The Plaza, Formerly Known as Western International Hotels-Plaza Hotel Division, Appellant.
Court of Appeals of the State of New York.
Decided May 20, 1982.
Garry Hoppe for appellant.
Barry B. LePatner for respondent.
Concur: Chief Judge COOKE and Judges JASEN, GABRIELLI, JONES, WACHTLER, FUCHSBERG and MEYER.
On review of submissions pursuant to rule 500.2 (b) of the Rules of the Court of Appeals (22 NYCRR 500.2 [b]), order affirmed, with costs. We agree that the motion to compel arbitration was properly granted. There is neither waiver nor an election of remedies where, as here, plaintiff moves in court for protective relief in order to preserve the status quo while at the same time exercising its right under the contract to demand arbitration.
